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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                            LAFAYETTE-OPELOUSAS DIUSION

 GLENN DURGIN,Individually and on              CIVIL ACTION NO.: 6:19-cv-00721
 behalf of others similarly situated

 VERSUS                                        HON. ruDGE ROBERT R. SUMMERHAYS

 ALLSTATE PROPERTY AND
 CASUALTY INSURANCE COMPANY MAG. JUDGE CAROL B. WHITEHURST


                 FIRST SUPPLEMENTAL AND AMENDING PETITION
                FOR PROPERTY DAMAGES, PENALTIES, ATTORNEYOS
                      FEES AND FOR CLASS CERTIFICATION


        The First Supplemental and Amending Petition of GLENN DURGIN,Individually and

 on behalf of others similarly situated, Complainant in the above entitled and numbered cause,

 respectfully represents that he desires to supplement and amend his original Petition for Property

 Damages, Penalties, Attorney's Fees and For Class Certification, in the following respects:

                                                   I.

        By adding Paragraph 56 of Complainant's original Petition for Property Damages,

 Penalties, Attorney's Fees and For Class Certification to read as follows:

                                                  "56.

        Complainant prays for a trial by jury."

                                                  il.
        By   amending the prayer     of   Complainant's original Petition     for Property   Damages,

 Penalties, Attorney's fees and For Class Certification to read as follows:

        "V/HEREFORE, Complainant, GLENN DURGIN, individually and on behalf of others

 similarly situated, prays that defendant, Allstate Property and Casualty Insurance Company, be
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 served with a certified copy of this petition and be cited to appear and answer same, that after all

 legal delays and due proceedings had, there be a trial by j.rry, judgment rendered herein in favor

 of complainant and against defendant for such damages as are reasonable in the premises, with

 legal interest from the date ofjudicial demand until paid, for all costs of these proceedings, for

 attomey's fees, and for all general and equitable relief allowed by law."

           WHEREFORE, Complainant reiterating the pertinent paragraphs of the original Petition

 for Property Damages, Penalties, Attomey's Fees and For Class Certification as though set forth

 at length herein, prays that this First Supplemental   & Amending Petition for Property   Damages,

 Penalties, Attorney's Fees and For Class Certification be filed, and after due proceedings had,

 there be judgment herein in favor of Complainant and against defendant as originally prayed for

 herein.

           AND FOR LEGAL AND EQUITABLE RELIEF to which the Complainant may                   be

 entitled.

                                               RESPECTFULLY SUBMITTED,

                                               KENNETH D. ST. PÉ, APLC

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                                                 ¡s¡
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